   Case:Case 2:14-cv-01656-CDJ
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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                                _____________

                                     No. 17-2955
                                    _____________

                                LANCE YARUS, D.O.,
                                           Appellant
                                       v.

                               WALGREEN CO.;
                           WALGREEN EASTERN CO., INC.
                                ______________

             APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                       (D.C. Civ. Action No. 2:14-cv-01656)
                   District Judge: Honorable C. Darnell Jones, II
                                 ______________

                     Submitted Under Third Circuit L.A.R. 34.1(a)
                                   April 16, 2018
                                 ______________

       Before: GREENAWAY, JR., RENDELL, and FUENTES, Circuit Judges.

                                   ______________

                                     JUDGMENT
                                   ______________

      This cause came to be considered on the record from the United States District

Court for the Eastern District of Pennsylvania and was submitted pursuant to Third

Circuit L.A.R. 34.1(a) on April 16, 2018. On consideration whereof, it is now hereby

ORDERED and ADJUDGED by this Court that the orders of the District Court entered

on October 9, 2015 and August 15, 2017 are hereby AFFIRMED.
   Case:Case 2:14-cv-01656-CDJ
         17-2955               Document 172 Page:
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                                                        Date Filed: 2 of 2




       Costs are taxed against Appellant. All of the above in accordance with the Opinion

of this Court.

                                                        ATTEST:


                                                        s/ Patricia S. Dodszuweit
                                                        Clerk

Dated: June 13, 2018




Costs taxed in favor of Appellees as follows:

       Brief                    $154.02
                                _______
       TOTAL                    $154.02




               Certified as a true copy and issued in lieu
               of a formal mandate on 8/1/18


           Teste:
           Clerk, U.S. Court of Appeals for the Third Circuit
